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10                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13

14

15   IN RE: CATHODE RAY TUBE (CRT)                        Master File No. 3:07-cv-05944-SC
     ANTITRUST LITIGATION,
16                                                        MDL No. 1917
17                                                        DECLARATION OF EMILIO E.
     This Documents Relates To:                           VARANINI IN SUPPORT OF THE
18                                                        ADMINISTRATIVE MOTION FOR
     ALL ACTIONS                                          ORDER ISSUING LETTER OF
19                                                        REQUEST TO RESCHEDULE THE
                                                          DEPOSITION OF LEO MINK
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22          1.      I am a Deputy Attorney General with the California Attorney General’s Office and

23   am lead counsel for the California Attorney General in the state court case of State of California

24   et. al. v. Samsung SDI, Co., Ltd., Case No. 11-51584 (California Superior Court, San Francisco).

25   This case has been coordinated with this Court’s MDL No. 1917 for purposes of fact and expert

26   discovery as well as mediation and settlement. I am admitted to this Court and could, if called as

27   a witness, testify competently to the matters set forth herein. I make this declaration under

28   penalty of perjury under the laws of the United States and the State of California.
                                                      1
      VARANINI DECL. ISO ADMIN MOTION FOR ORDER ISSUING LETTER OF REQUEST TO RESCHEDULE
                                     THE DEPOSITION OF LEO MINK (Master File No. CV-07-5944-SC)
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 1          2.      Besides this case, I have led other international price-fixing and unfair competition
 2   cases involving the State of California. I also have an extensive background on international
 3   antitrust and related issues involving the European Union and China.
 4          3.      This is a second administrative motion concerning the deposition of Leo Mink, an
 5   ex-employee of the Philips defendants in this action, Koninklijke Philips N.V. and Philips
 6   Electronics North America Corporation. The Philips defendants do not object to this request to
 7   reschedule the subject deposition.
 8          4.      The first administrative motion was filed on by the Attorney General’s Office,
 9   joined by the Direct Purchaser Plaintiffs, the Indirect Purchaser Plaintiffs, and the Direct Action
10   Plaintiffs (hereafter “Plaintiffs”). That motion requested the issuance of a letter of request to the
11   relevant authorities in The Netherlands for the deposition of Leo Mink to take place on March 31
12   and April 1, 2014 in Amsterdam, The Netherlands. That letter of request was issued by this Court
13   on January 31, 2014. A true and correct copy of the January 31, 2014 Letter of Request is
14   attached hereto as Exhibit A. See also Doc. # 2362.
15          5.      Following the Court’s issuance of the January 31, 2014 Letter of Request, the
16   California Attorney General’s Office arranged for the delivery of the Court’s letter to the relevant
17   authorities in The Netherlands. On February 10, 2014, an agent of the Attorney General in The
18   Netherlands delivered the Court’s letter to The Netherlands’ Central Authority. On February 24
19   and March 3, 2014, the Attorney General’s Dutch agent visited the Central Authority’s office to
20   obtain a status report on the Court’s letter of request and was told that the letter was being
21   processed.
22          6.      Recent developments necessitate the issuance of a second letter of request. On
23   March 21, 2014, the Attorney General’s Office learned that the Central Authority had misplaced
24   the Court’s original letter and thus, immediately prepared this administrative motion. The
25   Attorney General’s Office learned that the Central Authority had placed a call to the Dutch agent
26   and informed her that the Court’s original letter had been misplaced and asked for a new letter of
27   request, which would be expedited in The Netherlands.
28          7.      Based on these developments, Plaintiffs respectfully requests that the Court issue a
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      VARANINI DECL. ISO ADMIN MOTION FOR ORDER ISSUING LETTER OF REQUEST TO RESCHEDULE
                                     THE DEPOSITION OF LEO MINK (Master File No. CV-07-5944-SC)
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 1   new letter of request to the Central Authority. Since it would be impossible to hold the deposition
 2   on the originally noticed dates on March 31 and April 1, 2014, Plaintiffs request that the
 3   deposition now take place on June 3-4, 2014, as set forth in the proposed new Letter of Request,
 4   amended Notice of Deposition and amended Subpoena accompanying the proposed order.
 5          8.      Other than the new deposition dates, the new Letter of Request is identical to the
 6   original letter issued by the Court on January 31, 2014. Like the Court’s issuance of the original
 7   letter, the issuance of this letter of request is an administrative act permitted by Civil Local Rule
 8   7.11. The use of Civil Local Rule 7.11 is also justified by the urgency of this request in that the
 9   Letter of Request, if executed by this Court, must be promptly delivered to the relevant authorities
10   in The Netherlands so that Leo Mink may be deposed on June 3-4, 2014.
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     Dated: March 26, 2014                                  Respectfully submitted,
12
                                                            KAMALA D. HARRIS
13                                                          Attorney General of California
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15                                                          ______/s/ Emilio Varanini______________
                                                            EMILIO VARANINI
16                                                          Deputy Attorney General
                                                            Attorneys for the State of California et al.
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      VARANINI DECL. ISO ADMIN MOTION FOR ORDER ISSUING LETTER OF REQUEST TO RESCHEDULE
                                     THE DEPOSITION OF LEO MINK (Master File No. CV-07-5944-SC)
